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                                           August 10, 2018
   Judge Robert Drain
   United States Bankruptcy Court
   Southern District of New York

          Re:          Kristen M. Farley
          Case Number: 16-23672
          Subject:     Status Report of Loss Mitigation between Debtors and Creditor

   Dear Judge Drain:

           Our office represents U.S. Bank Trust National Association as Trustee of Bungalow
   Series III Trust by its servicer SN Servicing Corporation in the pending loss mitigation
   proceedings. Please accept this letter as an update in advance of next week’s hearing.

           On May 23, 2018, Debtor’s Attorney was apprised that a transfer of claim was occurring
   on the file. On May 24, 2018, our office provided Debtor’s Attorney with the new Creditor’s
   loss mitigation package to be completed. On July 2, 2018, Debtor was issued a denial letter for
   failure to submit an updated modification package. Also on July 2, 2018, Debtor’s Attorney
   submitted an updated financial package from Debtor. Creditor expressed to Debtor that the
   submitted financial package would be reviewed.

           On July 12, 2018, Creditor requested additional documents from Debtor for review. Also
   on July 12, 2018, Debtor’s Attorney submitted additional documents for Creditor’s review. On
   July 30, 2018, Creditor requested Debtor’s insurance documents be updated to show the current
   Servicer, SN Servicing Corporation. On August 2, 2018, Debtor’s Attorney submitted an
   updated insurance declaration page with the current Servicer’s information. Per the Servicer,
   additional documents were received from Debtor’s Attorney on August 8, 2018. The documents
   are currently under review by the Servicer.

          Please do not hesitate to contact our office with any questions.

   Sincerely,




   STERN & EISENBERG, P.C.
